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 5   A■ omeys forthe United States ofAmeHcaヽ

 6
                                Dヾ   THE UNITED STATES DISTRICT COURT
 7
                                      FOR THE TERRITORY OF GUAM
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 9                                                      CRIMINAL CASE N0 15-00041
      llNITED STATES OF AMERICA,
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                                           Plaintit     MOT10N FOR DESTRUCT10N
11                                                      OF EⅥ DENCE
                 VS
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      JUSTnヾ   ROBERT WHITE CRUZ,
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                                         Defendant.
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            The United States of America, by and through the undersigned counsel, respectfully submits
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     this Motion for Destruction of Evidence for an Order allowing the Government to dispose of one
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     Rock River Arms LAR-8 .308/7.62 mm rifle, bearing serial no. UTI03954, together with a Nikon
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     scope and bipod ("the firearm").

19
            Title   18, United States Code, Section   983(lXlXF)   states in relevanr part:

20          "The Govemment shall not be required to retum contraband or other property that the person
            from whom the property was seized may not legally possess."
21
     The Drug Enforcement Administration ("DEA") currently has possession ofthe firearm in connection
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     with this criminal case. DEA will not retum the firearm to the Defendant since the item was seized as
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     contraband for which the Defendant is prohibited from possessing. On March 28,2017 , a felory
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     MOTION FOR DESTRUCTION
     OF EVIDENCE - I

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                   judgment was entered against the Defendant in this matter. The Govemment therefore requests that

                   the Court order the destruction ofthe firearm.

     3                     Without an order by this Court authorizing the Government to destroy the firearm, the

     4             Govemment would maintain custody and control of the firearm for an indefinite period of time, at the


     5
                   Government's expense. As there is no corresponding benefit to the public in having the Govemment

                   maintain custody and control of the firearm, the Govemment requests the Court issue an Order for
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                   destruction of the firearm.
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 10                                                       SHAWN N ANDERSON
                                                          Acjng U S Attomey
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                   MOTION FOR DESTRUCTION
                   OF EVIDENCE-2
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